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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY
                        MINUTES OF PROCEEDINGS
 JUDGE WILLIAM J. MARTINI                            DATE: 11/8/18
 Court Reporter: Yvonne Davion
 Court Clerk: Gail Hansen
 Other:
 TITLE OF CASE:
 Y.W.                                                2:14-cv-1642
 v.
 Roberts, et al


 Appearances:


 Levi Huebner & Lawrence Katz for Plaintiff
 DAG’s Randall Weaver & Shmuel Bushwick for Defendants
 NATURE OF PROCEEDINGS: SETTLEMENT CONFERENCE


 Parties indicated action settled; terms of the settlement placed
 on the record in open court; Court discussed settlement terms
 with Plaintiff; State will turn over funds with 12 weeks, etc.




                                            Gail A. Hansen, Deputy


 Time Commenced: 11:00 a.m.- 1:35 p.m. (in chambers)
 Time Concluded: 1:35 p.m. 1:45 p.m. (in court)
 Total Time: 2 hours 45 minutes
